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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF ILLINOIS

CRISTINA NICHOLE IGLESIAS
(a.k.a. CRISTIAN NOEL IGLESIAS),

                      Plaintiff,                       Case No. 19-cv-00415-RJN

       v.                                              Judge Nancy J. Rosenstengel

IAN CONNORS, et al.,

                      Defendants.


   DECLARATION OF DR. RANDI ETTNER, Ph.D., IN SUPPORT OF PLAINTIFF’S
               MOTION FOR PRELIMINARY INJUNCTION


       I, Dr. Randi Ettner, hereby state:

       1.     I am a clinical and forensic psychologist with expertise concerning the diagnosis

and treatment of gender dysphoria. I am the immediate past Secretary and served as a member for

more than twelve years of the Board of Directors of the World Professional Association of

Transgender Health (“WPATH”), the preeminent professional organization dedicated to the

understanding and treatment of gender dysphoria worldwide. I have extensive experience treating

transgender individuals with gender dysphoria in my clinical practice and have published

numerous books and articles on the topic.

       2.     I have been retained by counsel for Plaintiff Cristina Iglesias to provide the Court

with my expert evaluation and opinion regarding the appropriateness of the treatment for gender

dysphoria provided by the Defendants. This declaration provides my opinions and conclusions,

including (i) scientific information regarding gender dysphoria and its impact on the health and

well-being of individuals living with gender dysphoria; (ii) information regarding best practices

and the generally accepted standards of care for individuals with gender dysphoria; and (iii) the

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results of my review of Plaintiff’s treatment for gender dysphoria. I have actual knowledge of the

matters stated herein and could and would so testify if called as a witness.

I.     QUALIFICATIONS AND BASIS OF DECLARATION

       3.      I am a licensed clinical and forensic psychologist with a specialization in the

diagnosis, treatment, and management of gender dysphoric individuals. I received my doctorate in

psychology (with honors) from Northwestern University in 1979. I am a Fellow and Diplomate in

Clinical Evaluation of the American Board of Psychological Specialties, and a Fellow and

Diplomate in Trauma/Post-Traumatic Stress Disorder.

       4.      During the course of my career, I have evaluated, diagnosed, and treated between

2,500 and 3,000 individuals with gender dysphoria and mental health issues related to gender

variance from 1977 to present.

       5.      I have published four books related to the treatment of individuals with gender

dysphoria, including the medical text entitled Principles of Transgender Medicine and Surgery

(co-editors Monstrey & Eyler; Rutledge 2007); and the 2nd edition (co-editors Monstrey &

Coleman; Routledge, 2016). In addition, I have authored numerous articles in peer-reviewed

journals regarding the provision of health care to the transgender population.

       6.      I have served as a member of the University of Chicago Gender Board, am on the

editorial boards of Transgender Health and the International Journal of Transgender Health, and

an author of the WPATH Standards of Care for the Health of Transsexual, Transgender and

Gender-nonconforming People (7th version), published in 2011. WPATH is an international

association of 2,500 medical and mental health professionals worldwide specializing in the

treatment of gender diverse people. I chair the WPATH Committee for Incarcerated Persons and

provide training to medical professionals on healthcare for transgender inmates.



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       7.      I have lectured throughout North America, Europe, South America, and Asia on

topics related to gender dysphoria and have given grand rounds on gender dysphoria at university

hospitals. I am the honoree of the externally funded Randi and Fred Ettner Fellowship in

Transgender Health at the University of Minnesota. I have been an invited guest at the National

Institute of Health to participate in developing a strategic research plan to advance the health of

sexual and gender minorities, and in November 2017 was invited to address the Director of the

Office of Civil Rights of the United States Department of Health and Human Services regarding

the medical treatment of gender dysphoria. I received a commendation from the U.S. Congress

House of Representatives on February 5, 2019 recognizing my work for WPATH and gender

dysphoria in Illinois.

       8.      I have been a consultant to news media and have been interviewed as an expert on

gender dysphoria for hundreds of television, radio, and print articles throughout the country.

       9.      I have been retained as an expert regarding gender dysphoria and the treatment of

gender dysphoria in multiple court cases and administrative proceedings, including cases involving

the treatment of individuals with gender dysphoria in prison settings. I was deposed as an expert

in the following cases over the past four years: Claire, et al. v. Fla. Dep’t of Management Serv., et

al., Case No. 4:20-cv-00020 (2020); Soneeya v. Turco, No. 07-12325-DPW (D. Mass. 2019);

Edmo v. Idaho Dep’t of Corr., No. 1:17-CV-00151-BLW (D. Idaho 2018); Monroe v. Jeffreys, No.

18-156-NJR (S.D. Ill. 2018); Faiella v. Am. Med. Response, No. HHD CV-XX-XXXXXXX (Conn.

Super. Ct. 2015); Broussard v. First Tower Loan, No. 2:15-CV-011-61 (D. La. 2016); Carrillo v.

U.S. Dep’t of Justice Exec. Office of Immigr. Rev. (2017); Jane Doe v. Clenchy, et al., No. CV-09-

201 (Me. Super. Ct. 2011); Kothmann v. Rosario, No. 13-CV-28-OC22 (D. Fla. 2013); Gore v.

Lee, No. 3:19-cv-00328 (M.D. Tenn. 2020); Williams v. Allegheny Cty., No. 2:17-cv-01556-MJH



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(W.D. Pa. 2020); Eller v. Prince George’s Cty. Pub. Schs., No. 8:18-cv-03649-TDC (D. Md.

2020); Ray v. Himes, No. 2:18-cv- 00272-MHW-CMV (S.D. Ohio).

       10.     A true and correct copy of my Curriculum Vitae, which provides a complete

overview of my education, training, and work experience and a full list of my publications, is

attached hereto as Appendix A.

       11.     My clinical consulting fee in this case is 375 USD per hour. My retention agreement

in this case is attached hereto as Appendix C.

II.    MATERIALS CONSIDERED

       12.     I have considered information from various sources in forming my opinions

enumerated herein, in addition to drawing on my extensive experience and review of the literature

related to gender dysphoria over the past three decades. Attached as Appendix B is a bibliography

of relevant medical and scientific materials related to transgender people and gender dysphoria. I

generally rely on these materials when I provide expert testimony, in addition to the documents

specifically cited as supportive examples in particular sections of this declaration.

       13.     In preparing this declaration, I also reviewed and relied on the following: Plaintiff’s

medical and mental health records that have been provided to me by counsel; records related to

Plaintiff’s Federal Bureau of Prisons (“BOP”) grievances; Plaintiffs’ First Amended Complaint;

Declaration in Support of Plaintiff’s Motion for Preliminary Injunction; and BOP policies and

procedures related to transgender prisoners and gender dysphoria treatment.

       14.     Lastly, I conducted and have relied on a very brief phone interview of Plaintiff.




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III.   GENDER DYSPHORIA

       15.     The term “gender identity” is a well-established concept in medicine, referring to

one’s internal sense of oneself as belonging to a particular gender. All human beings develop this

elemental internal conviction of belonging to a particular gender, such as male or female.

       16.     At birth, infants are typically classified as male or female. This classification

becomes the person’s birth-assigned gender. Typically, persons born with the external physical

characteristics of males psychologically identify as men, and those with the external physical

characteristics of females psychologically identify as women. However, for transgender

individuals, this is not the case. For transgender individuals, the sense of one’s self—one’s gender

identity—differs from the birth-assigned gender, giving rise to a sense of being “wrongly

embodied.”

       17.     For some, the incongruence between gender identity and assigned gender does not

create clinically significant distress. However, for others, the incongruence results in gender

dysphoria, a serious medical condition characterized by a clinically significant and persistent

feeling of stress and discomfort with one’s assigned gender.

       18.     In 1980, the American Psychiatric Association introduced the diagnosis Gender

Identity Disorder (GID) in the third edition of the Diagnostic and Statistical Manual of Mental

Disorders (DSM-III). The diagnosis GID was maintained in a revised version of DSM, known as

DSM-III-R (1987), as well as in DSM-IV which was issued in 1994.

       19.     In 2013, with the publication of DSM-5, the Gender Identity Disorder (“GID”)

diagnosis was removed and replaced with gender dysphoria. This new diagnostic term was based

on significant changes in the understanding of the condition of individuals whose birth-assigned

sex differs from their gender identity. The change in nomenclature was intended to acknowledge



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that gender incongruence, in and of itself, does not constitute a mental disorder. Nor is an

individual’s identity disordered. Rather, the diagnosis is based on the distress or dysphoria that

some transgender people experience as a result of the incongruence between assigned sex and

gender identity and the social problems that ensue. The DSM explained that the former GID

diagnosis connoted “that the patient is ‘disordered.’” American Psychiatric Association (“APA”),

Gender Dysphoria (2013). But, as the APA explained, “[i]t is important to note that gender

nonconformity is not in itself a mental disorder. The critical element of Gender Dysphoria is the

presence of clinically significant distress associated with the condition.” Id. By “focus[ing] on

dysphoria as the clinical problem, not identity per se,” the change from GID to Gender Dysphoria

destigmatizes the diagnosis. American Psychiatric Association, Diagnostic and Statistical Manual

of Mental Disorders (5th ed. 2013).

       20.        In addition, the categorization of gender dysphoria and its placement in the DSM

system is different for gender dysphoria than it was for GID. In every version of the DSM prior to

2013, GIDs were a subclass of some broader classification, such as Disorders Usually First Evident

in Infancy, Childhood, or Adolescence, or alongside other subclasses such as Developmental

Disorders, Eating Disorders, and Tic Disorders. For the first time ever, DSM-5 categorizes the

diagnosis separately from all other conditions. Under DSM-5, gender dysphoria is classified on its

own. And as recently as June 16, 2018, the World Health Organization (“WHO”) likewise

reclassified the gender incongruence diagnosis in the forthcoming International Classification of

Diseases-11 (“ICD-11”). This is significant because the new classification removes gender

incongruence form the chapter on mental and behavioral disorders, recognizing that it is not a

mental illness.




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       21.        The diagnostic criteria for Gender Dysphoria in Adolescents and Adults in DSM-5

are as follows:

       A.         A marked incongruence between one’s experienced/expressed gender and
                  assigned gender, of at least 6 months’ duration, as manifested by at least two ofthe
                  following:

            1. A marked incongruence between one’s experienced/expressed gender and
               primary and/or secondary sex characteristics (or in young adolescents,
               theanticipated secondary sex characteristics).
            2. A strong desire to be rid of one’s primary and/or secondary sex characteristics
               because of a marked incongruence with one’s experienced/expressed gender
               (orin young adolescents, a desire to prevent the development of the anticipated
               sexcharacteristics).
            3. A strong desire for the primary and/or secondary sex characteristics of the
               othergender.
            4. A strong desire to be of the other gender (or some alternative gender
               differentfrom one’s assigned gender).
            5. A strong desire to be treated as the other gender (or some alternative
               genderdifferent from one’s assigned gender).
            6. A strong conviction that one has the typical feelings and reactions of the
               other gender (or some alternative gender different from one’s assigned
               gender).

       B.         The condition is associated with clinically significant distress or impairment
                  in social, occupational, or other important areas of functioning.

       22.        In addition to renaming and reclassifying gender dysphoria, the medical research

that supports the gender dysphoria diagnosis has evolved. Unlike DSM’s treatment of GID, the

DSM-5 includes a section entitled “Genetics and Physiology,” which discusses the genetic and

hormonal contributions to Gender Dysphoria. See DSM-5 at 457 (“For individuals with gender

dysphoria . . . some genetic contribution is suggested by evidence for (weak) familiarity of

transsexualism among nontwin siblings, increased concordance for transsexualism in monozygotic

compared with dizygotic same-sex twins, and some degree of heritability of gender dysphoria”).

       23.        There is now a scientific consensus that gender identity is biologically based and a

significant body of scientific and medical research that gender dysphoria has a physiological and


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biological etiology. It has been demonstrated that transgender women, transgender men, non-

transgender women, and non-transgender men have different brain composition, with respect to

the white matter of the brain, the cortex (central to behavior), and subcortical structures. See, e.g.,

Rametti et al., White Matter Microstructure in Female to Male Transsexuals Before Cross-Sex

Hormonal Treatment: A Diffusion Tensor Imaging Study, 45 J. Psychiatric Res. 199–204 (2011);

Rametti et al., The Microstructure of White Matter in Male to Female Transsexuals Before Cross-

Sex Hormonal Treatment: A DTI Study, 45 J. Psychiatric Res. 949–54 (2011); Luders et al., Gender

effects on cortical thickness and the influence of scaling, 2 J. Behav. & Brain Sci. 357, 360 (2006);

Krujiver et al., Male-to- female transsexuals have female neuron numbers in a limbic nucleus, 85

J. Clin. Endocr. Met., 2034–41 (2000). Interestingly, differences between transgender and non-

transgender individuals primarily involve the right hemisphere of the brain. The significance of

the right hemisphere is important because that is the area that relates to attitudes about bodies in

general, one’s own body, and the link between the physical body and the psychological self.

       24.     In addition, scientific investigation has found a co-occurrence of gender dysphoria

in families. Gomez-Gill et al. concluded that the probability of a sibling of a transgender individual

also being transgender was 5 times higher than someone in the general population. Gomez- Gil et

al., Familiarity of gender identity disorder in non-twin siblings, 39 Arch Sex Behav., 265–69

(2010). And, in identical twins, there was a very high likelihood (33%) of both twins being

transgender, even when reared apart, demonstrating the role of genetics in the development of

gender dysphoria. See Diamond, Transsexuality among twins: identity concordance, transition,

rearing, and orientation, 14 Int’l J. Transgenderism 24 (2013) (abstract: “[t]he responses of our

twins relative to their rearing along with our findings regarding some of their experiences during

childhood and adolescence show their [gender] identity was much more influenced by their



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genetics than their rearing.”); see also Green, Family co-occurrence of “gender dysphoria”: ten

siblings or parent-child pairs, 29 Arch Sex Behav. 499–507 (2000).

       25.     It is now believed that gender dysphoria evolves as a result of the interaction of the

developing brain and sex hormones. For example, one study found that:

       [d]uring the intrauterine period a testosterone surge masculinizes the fetalbrain,
       whereas the absence of such a surge results in a feminine brain. As sexual
       differentiation of the brain takes place at a much later stage in the development than
       sexual differentiation of the genitals, these two processes can be influenced
       independently of each other. Sex differences in cognition, gender identity . . . ,
       sexual orientation . . . , and the risks of developing neuropsychiatric disorders are
       programmed into our brain during early development. There is no evidence that
       one’s postnatal socialenvironment plays a crucial role in gender identity or sexual
       orientation.

Garcia-Falgueras & Swaab, Sexual Hormones and the Brain: As Essential Alliance for Sexual

Identity and Sexual Orientation, 17 Pediatric Neuroendocrinology 22–25 (2010). Similarly,

Lauren Hare et al. finds that “a decrease in testosterone levels in the brain during development

might result in incomplete masculinization of the brain . . . resulting in a more feminized brain and

a female gender identity.” Hare et al., Androgen Receptor Repeat Length Polymorphism

Associated with Male-to- Female Transsexualism, 65 Biological Psychiatry 93, 93, 96 (2009).

Because gender dysphoria is biologically based, efforts to change a person’s gender identity are

futile, cause psychological harm, and are unethical.

IV.    TREATMENT OF GENDER DYSPHORIA

       A.      WPATH Standards of Care

       26.     Gender dysphoria can be ameliorated or even effectively cured through medical

treatment. The standards of care for treatment of gender dysphoria are set forth in the World

Professional Association for Transgender Health (WPATH) Standards of Care (7th version, 2011).

The WPATH promulgated Standards of Care (“SOC”) are the internationally recognized


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 guidelines for the treatment of persons with gender dysphoria and inform medical treatment

 throughout the world. The American Medical Association, the Endocrine Society, the American

 Psychological Association, the American Psychiatric Association, the World Health Organization,

 the American Academy of Family Physicians, the American Public Health Association, the

 National Association of Social Workers, the American College of Obstetrics and Gynecology and

 the American Society of Plastic Surgeons all endorse protocols in accordance with the SOC. See,

 e.g., American Medical Association (2008) Resolution 122 (A-08); Endocrine Treatment of

 Transsexual Persons: An Endocrine Society Clinical Practice Guideline (2009); American

 Psychological Association Policy Statement on Transgender, Gender Identity and Gender

 Expression Nondiscrimination (2009).

        27.    As part of the SOC, many transgender individuals with gender dysphoria undergo

 a medically-indicated and supervised gender transition in order to ameliorate the debilitation of

 gender dysphoria and live life consistent with their gender identity. The SOC recommend an

 individualized approach to gender transition, consisting of one or more of the following protocol

 components of evidence-based care for gender dysphoria:

               •   Changes in gender expression and role (which may involve living part
                   time or full time in another gender role, consistent with one’s gender
                   identity);
               •   Hormone therapy to feminize or masculinize the body;
               •   Surgery to change primary and/or secondary sex characteristics (e.g.
                   breasts/chest, external and/or internal genitalia, facial features, body
                   contouring);
               •   Psychotherapy (individual, couple, family, or group) for purposes such as
                   exploring gender identity, role, and expression; addressing the negative
                   impact of gender dysphoria and stigma on mental health; alleviating
                   internalizedtransphobia; enhancing social and peer support improving
                   body image; orpromoting resilience.

         SOC at 9–10.




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        28.     The treatment of incarcerated persons with gender dysphoria has been addressed in

 the SOC since 1998. As with protocols for the treatment of diabetes or other medical disorders,

 medical management of gender dysphoria for incarcerated individuals does not differ from

 protocols for non-institutionalized persons. For this reason, the SOC expressly state that all

 elements of the prescribed assessment and treatment are equally applicable to patients in prison

 (Section XIV) and the National Commission on Correctional Health (NCCHC) recommends

 treatment in accordance with the SOC for people in correctional settings. See NCCHC Position

 Statement, Transgender, Transsexual, and Gender Non-Conforming Health Care in Correctional

 Settings     (October     18,     2009,      reaffirmed     with     revisions     April,     2015),

 http://www.ncchc.org/transgender-transsexual-and gender-nonconforming health-care).

        29.     Under the SOC, while it is true that “[r]easonable accommodations to the

 institutional environment can be made in the delivery of care consistent with the [Standards of

 Care].” SOC at 68. “Denial of needed changes in gender role or access to treatments, including

 sex reassignment surgery, on the basis of residence in an institution are not reasonable

 accommodations.” Id.

        30.     Once a diagnosis of gender dysphoria is made, a treatment plan should be

 developed based on an individualized assessment of the medical needs of the particular patient.

        31.     The development of any treatment plan and all subsequent treatment must be

 administered by clinicians qualified in treating patients with gender dysphoria. The SOC specify

 the qualifications that professionals must meet in order to provide care to gender dysphoric

 patients. See Section VII. In particular, the SOC provide that all mental health professionals should

 have certain minimum credentials before treating patients with gender dysphoria, including a

 master’s degree (or equivalent) in a clinical behavioral science field; competencies in using the



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 DSM-5 and/or the International Classification of Diseases for diagnostic purposes; ability to

 recognize and diagnose co-existing mental health concerns and to distinguish these from gender

 dysphoria; documented supervised training and competence in psychotherapy or counseling;

 knowledge of gender nonconforming identities and expressions, and the assessment and treatment

 of gender dysphoria; and continuing education in the assessment and treatment of gender

 dysphoria. SOC at 22.

         32.     Importantly, the SOC require that “[m]ental health professionals who are new to

 the field (irrespective of their level of training and other experience) should work under the

 supervision of a mental health professional with established competence in the assessment and

 treatment of gender dysphoria.” SOC at 22–23. Self-study cannot substitute for first-hand clinical

 experience in treating the range of clinical presentations of gender dysphoria, or the mentorship

 and supervision of an expert in this field.

         33.     In addition to these minimum credentials, clinicians working with gender dysphoric

 patients should develop and maintain cultural competence to provide optimal care. A growing

 body of scientific literature underlies this specialized area of medicine and presents advances in

 treatment that inform care.

         34.     Treatment plans generated by providers lacking the requisite experience can result

 in inappropriate care, or place patients at significant risk.

         35.     While psychotherapy or counseling can provide support and help with the personal

 and social aspects of a gender transition, they are not a substitute for medical intervention where

 medical intervention is needed, nor are they preconditions for such intervention. By analogy, in

 Type One diabetes, counseling might provide psychoeducation about living with a chronic

 condition, and information about nutrition, but it does not obviate the need for insulin.



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        36.     For many individuals with gender dysphoria, changes to gender expression and role

 to feminize or masculinize one’s appearance, often called “social transition,” are an important part

 of treatment for the condition. This involves dressing, grooming and otherwise outwardly

 presenting oneself through social signifiers of gender consistent with one’s gender identity. This

 is an appropriate and necessary part of identity consolidation. Through this experience, the shame

 of growing up living as a “false self” and the grief of being born into the “wrong body” can be

 ameliorated. See, e.g., Greenberg & Laurence 1981; Ettner 1999; Devor 2004.

        B.      Hormone Therapy

        37.     For almost all individuals with persistent, well-documented gender dysphoria,

 hormone therapy is essential and medically indicated treatment to alleviate the distress of the

 condition. The Standards of Care specify that “feminizing/masculinizing hormone therapy—the

 administration of exogenous endocrine agents to induce feminizing or masculinizing changes—is

 a medically necessary intervention for many transsexual, transgender, and gender non-conforming

 individuals with gender dysphoria.” SOC at Section VIII, p. 33.

        38.     Hormone therapy is a well-established and effective means of treating gender

 dysphoria. The American Medical Association, the Endocrine Society, the American Psychiatric

 Association and the American Psychological Association all agree that hormone therapy in

 accordance with the WPATH Standards of Care is medically necessary treatment for many

 individuals with gender dysphoria. See American Medical Association (2008), Resolution 122 (A-

 08); Endocrine Treatment of Transsexual Persons: An Endocrine Society Clinical Practice

 Guideline (2009); American Psychological Association Policy Statement on Transgender, Gender

 Identity and Gender Expression Nondiscrimination (2009).




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        39.     The goals of hormone therapy for individuals with gender dysphoria are: (i) to

 significantly reduce hormone production associated with the person’s sex assigned at birth and,

 thereby, the secondary sex characteristics of the individual’s sex assigned at birth; and (ii) to

 replace circulating sex hormones associated with the person’s sex assigned at birth with feminizing

 or masculinizing hormones, using the principles of hormone replacement treatment developed for

 hypogonadal patients (i.e., non-transgender males born with insufficient testosterone or non-

 transgender females born with insufficient estrogen). See Endocrine Treatment of Transsexual

 Persons: An Endocrine Society Clinical Practice Guideline (2009).

        40.     The therapeutic effects of hormone therapy are twofold: (i) with endocrine

 treatment, the patient acquires congruent sex characteristics, i.e., for transgender women, breast

 development, redistribution of body fat, cessation of male pattern baldness, and reduction of body

 hair; and (ii) hormones act directly on the brain, via receptors sites for sex steroids, which produces

 an attenuation of dysphoria and attendant psychiatric symptoms, and the promotion of a sense of

 well-being. See, e.g., Cohen-Kettenis & Gooren 1993. Hormone therapy induces desired physical

 changes for transgender men as well, such as a deepened voice, growth in facial and body hair,

 cessation of menses, and atrophy of breast tissue, among other changes. SOC at 36.

        41.     The efficacy of hormone therapy to treat gender dysphoria is observed clinically

 and is well documented in the literature. For example, in one study, researchers investigated 187

 transgender individuals who had received hormones and compared them with a group of

 transgender individuals who did not. Untreated individuals showed much higher levels of

 depression, anxiety, and social distress than those who received hormone therapy. See Rametti, et

 al. 2011; see also Colizzi et al. 2014; Gorin-Lazard et al. 2014; Gorin-Lazard et al. 2011.




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           42.    Some individuals with gender dysphoria experience profound relief from hormone

 therapy alone such that further treatment, such as surgical intervention, is not required. See SOC

 at 8–9.

           43.    While the WPATH Standards indicate that significant mental health concerns must

 be reasonably well-controlled prior to initiation of hormone therapy, co-occurring mental health

 conditions should only be a reason to delay therapy in the most exceptional circumstances. For

 example, a physician might not initiate hormone therapy in a patient who is actively psychotic or

 so delusional as to be unable to consent to the treatment plan. Otherwise, it is extremely common

 for gender dysphoric patients to present with co-existing mental health issues and past trauma,

 which usually are a result of their underlying gender dysphoria. There is no legitimate medical

 basis for denying treatment simply because a patient also has been diagnosed with, for example,

 clinically significant anxiety, depression, or PTSD.

           C.     Gender-Affirming Surgery

           44.    For some individuals with severe gender dysphoria, hormone therapy alone is

 insufficient. Relief from their dysphoria cannot be achieved without surgical intervention to

 modify primary sex characteristics, i.e., genital reconstruction. Under the contemporary

 understanding of gender identity, transition-related medical treatments confirm, not “change,” an

 individual’s sex by aligning primary and secondary sex characteristics with a person’s gender

 identity. The WPATH Standards state:

           While many transsexual, transgender, and gender- nonconforming individuals find
           comfort with their gender identity, role, and expression without surgery, for many
           others surgery is essential and medically necessary to alleviate their gender
           dysphoria . . . . For the latter group, relief from gender dysphoria cannot be achieved
           without modification of their primary and/or secondary sex characteristics to
           establish greater congruence with their gender identity.

 SOC at 54–55.

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        45.     Genital reconstruction surgery for transgender women has two therapeutic

 purposes. First, removal of the testicles eliminates the major source of testosterone in the body.

 Second, the patient attains body congruence resulting from the uro-genital structures appearing

 and functioning as is typical for non-transgender women. Both are critical in alleviating or

 eliminating gender dysphoria. Other forms of gender-affirming surgeries, such as bilateral

 mastectomy for transgender men, allow the individual to attain body congruence with respect to

 secondary sex characteristics.

        46.     Decades of careful and methodologically sound scientific research have

 demonstrated that gender-affirming surgery is a safe and effective treatment for severe gender

 dysphoria and, indeed, for many people, it is the only effective treatment. See, e.g., Pfäfflin &

 Junge 1998; Smith et al. 2005; Jarolím et al. 2009.

        47.     WPATH, the American Medical Association, the Endocrine Society, and the

 American Psychological Association all support surgery in accordance with the SOC as medically

 necessary treatment for individuals with severe gender dysphoria. See American Medical

 Association (2008), Resolution 122 (A-08); Endocrine Treatment of Transsexual Persons: An

 Endocrine Society Clinical Practice Guideline (2009) (“For many transsexual adults, genital sex

 reassignment surgery may be the necessary step towards achieving their ultimate goal of living

 successfully in their desired gender role.”); American Psychological Association Policy Statement

 on Transgender, Gender Identity and Gender Expression Nondiscrimination (2009) (recognizing

 “the efficacy, benefit and medical necessity of gender transition treatments” and referencing

 studies demonstrating the effectiveness of gender-affirming surgeries).




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          48.   Surgeries are considered “effective” from a medical perspective if they “have a

 therapeutic effect.” See Monstrey et al. 2007. More than three decades of research confirms that

 gender-affirming surgery is therapeutic and therefore an effective treatment for gender dysphoria.

          49.   In a 1998 meta-analysis, Pfäfflin and Junge reviewed data from 80 studies,

 spanning 30 years, from 12 countries. They concluded that “reassignment procedures were

 effective in relieving Gender Dysphoria. There were few negative consequences and all aspects of

 the reassignment process contributed to overwhelmingly positive outcomes.” Pfäfflin & Junge

 1998.

          50.   Numerous subsequent studies confirm this conclusion. Researchers reporting on a

 large-scale prospective study of 325 individuals in the Netherlands concluded that after gender-

 affirming surgery there was “a virtual absence of gender dysphoria” in the cohort and “results

 substantiate previous conclusions that sex reassignment is effective” Smith et al. 2005. Indeed, the

 authors of the study concluded that the surgery “appeared therapeutic and beneficial” across a wide

 spectrum of factors and “[t]he main symptom for which the patients had requested treatment,

 Gender Dysphoria, had decreased to such a degree that it had disappeared.” Id.

          51.   In 2007, Gijs and Brewayes analyzed 18 studies published between 1990 and 2007,

 encompassing 807 patients. The researchers concluded: “Summarizing the results from the 18

 outcome studies of the last two decades, the conclusion that [gender-affirming surgery] is the most

 appropriate treatment to alleviate the suffering of extremely gender dysphoric individuals still

 stands: Ninety-six percent of the persons who underwent [surgery] were satisfied and regret was

 rare.”

          52.   Studies conducted in countries throughout the world conclude that surgery is an

 extremely effective treatment for gender dysphoria. For example, a 2001 study published in



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 Sweden states: “The vast majority of studies addressing outcome have provided convincing

 evidence for the benefit of sex reassignment surgery in carefully selected cases” Landen 2001.

 Similarly, urologists at the University Hospital in Prague, Czech Republic, in a Journal of Sexual

 Medicine article concluded, “Surgical conversion of the genitalia is a safe and important phase of

 the treatment of male-to-female transsexuals.” Jarolím 2009.

        53.     Patient satisfaction is an important measure of effective treatment. Achieving

 functional and normal physical appearance consistent with gender identity alleviates the suffering

 of gender dysphoria and enables the patient to function in everyday life. Studies have shown that

 by alleviating the suffering and dysfunction caused by severe gender dysphoria, gender-affirming

 surgery improves virtually every facet of a patient’s life. This includes satisfaction with

 interpersonal relationships and improved social functioning (Rehman et al. 1999; Johansson et al.

 2010; Hepp et al. 2002; Ainsworth & Spiegel 2010; Smith et al. 2005); improvement in self-image

 and satisfaction with body and physical appearance (Lawrence 2003; Smith et al. 2005; Weyers et

 al. 2009); and greater acceptance and integration into the family (Lobato et al. 2006).

        54.     Studies have also shown that surgery improves patients’ abilities to initiate and

 maintain intimate relationships. See, e.g., Lobato et al. 2006; Lawrence 2005; Lawrence 2006;

 Imbimbo et al. 2009; Klein & Gorzalka 2009; Jarolím et al. 2009; Smith et al. 2005; Rehman et

 al. 1999; De Cuypere et al. 2005).

        55.     Multiple long-term studies have confirmed these results. See, e.g., “Transsexualism

 in Serbia: a twenty-year follow-up study” (Vujovic et al. 2009); “Long-term assessment of the

 physical, mental, and sexual health among transsexual women” (Weyers et al. 2009); “Treatment

 follow-up of transsexual patients” (Hepp et al. 2002); “A five-year follow-up study of Swedish

 adults with gender identity disorder” (Johansson et al. 2010); “A report from a single institute’s 14



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 year experience in treatment of male-to-female transsexuals” (Imbimbo et al. 2009); “Follow up

 of sex reassignment surgery in transsexuals: a Brazilian cohort” (Lobato et al. 2006).

        56.     Given the extensive experience and research supporting the effectiveness of

 gender-affirming surgery spanning decades, it is clear that surgery is a medically necessary, not

 experimental, treatment for severe gender dysphoria as demonstrated by its inclusion as a

 medically necessary treatment in the SOC.

        57.     In 2008, WPATH issued a “Medical Necessity Statement” expressly stating:

 “These medical procedures and treatment protocols are not experimental: decades of both clinical

 and medical research show they are essential to achieving well-being for the transsexual patient.”

        58.     Similarly, Resolution 122 (A-08) of the American Medical Association states:

 “Health experts in GID, including WPATH, have rejected the myth that these treatments are

 ‘cosmetic’ or ‘experimental’ and have recognized that these treatments can provide safe and

 effective treatment for a serious health condition.”

        59.     On September 25, 2013, the Department of Health Care Services of the State of

 California Health and Human Services Agency issues All Plan Letter 13-011, which makes clear

 that gender confirmation surgery was a covered service for Medi-Cal beneficiaries when the

 surgery was not cosmetic in nature and referred providers to the WPATH Standards of Care for

 the “criteria for the medical necessity of transgender services.” Illinois recently joined the states

 that will provide gender confirmation surgery for Medicaid recipients. See, e.g., Lisa Schencker,

 Illinois Medicaid to cover gender reassignment surgery, Chi. Trib. (Apr. 5, 2019 at 4:40 AM),

 https://www.chicagotribune.com/business/ct-biz-medicaid-gender-reassignment-surgery-

 20190405-story.html.




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        60.     On May 30, 2014, the Appellate Division of the Departmental Appeals Board of

 the United States Department of Health and Human Services issued decision number 2576, in

 which the Board determined that a Medicare regulation denying coverage of “all transsexual

 surgery as a treatment for transsexualism” was not valid under the “reasonableness standard.” The

 Board specifically concluded that “transsexual surgery is an effective treatment option for

 transsexualism in appropriate cases.” The corpus of studies increases yearly as access to gender

 confirmation surgery increases. For example, a group at Cornell University conducted a review of

 56 studies from 1991 to June 2017 on the outcomes of gender confirming surgeries for transgender

 individuals. The results verify the efficacy of surgery: 52 studies (93%) reported beneficial effects,

 4 studies reported mixed or null effects, and no studies demonstrated that gender confirming

 surgeries cause harm. What We Know: The Public Policy Research Portal, What does the scholarly

 research say about transition on transgender well-being?, Cornell University; 2019),

 https://whatweknow.inequality.cornell.edu/topics/lgbt-equality/what-does-the-scholarly-

 research-say-about-the-well-being-of-transgender-people//.

        D.      Living Consistently with Gender Identity

        61.     The SOC establish the therapeutic importance of changes in gender expression by

 means of social signifiers that align with gender identity. Gender dysphoria, like many medical

 conditions, often requires more than a single intervention for effective treatment. For example,

 clothing and grooming that affirm one’s gender identity, such as bras for transgender females, and

 the use of congruent pronouns are critically important components of treatment protocols. See

 Greenberg & Laurence 1981; Ettner 1999; Devor 2004.

        62.     The SOC also specifically provide that permanent body hair removal, the

 elimination of a visible secondary sex characteristic, is significant in alleviating gender dysphoria



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 for transgender women. Other gender-appropriate grooming items for transgender women such as

 feminine deodorant, moisturizer, hair care, and make-up may also be necessary for treatment.

 Similarly, male grooming items are important components of social role transition for transgender

 men. These accoutrements are critical to the mental well-being and social transition of gender

 dysphoric people.

        63.    The most commonly pursued gender confirming medical intervention in

 transgender women is hair removal. Facial hair is an obvious source of distress in those who are

 transitioning. Electrolysis and/or laser hair removal are typically required to live safely and

 comfortably in the affirmed female gender. The removal of hair is an ongoing process for most

 transgender women, particularly those with dark and coarse hair, and requires numerous

 treatments. A very recent study explored satisfaction with hair removal in relation to gender

 dysphoria and psychological symptoms in a group of 281 transgender women. Bradford, Rider &

 Spencer, 2019. Results found satisfaction with hair removal correlated with less body dysphoria,

 less depression and anxiety, and an overall enhanced sense of wellbeing. The authors conclude

 that “[t]hese findings cast significant doubt on the assertion that hair removal services for

 transfeminine people are cosmetic” Id.

        64.    “Mis-gendering”—the act or referring to a transgender person by the incorrect

 gender—is harmful to the mental health of transgender persons. It threatens their identity and

 exacerbates the mental health problems attendant to gender dysphoria. It is therefore important,

 especially for those charged with the medical treatment and mental health care of transgender

 persons with gender dysphoria, to refer to transgender people using the correct, gender-affirming

 names and pronouns. See Bauer et al. 2015; Frost et al. 2015; Bockting 2014.




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        65.     Gender dysphoric prisoners are at heightened risk. In addition to the concerns

 outlined above, it is important for correctional facilities to consider appropriate housing and

 shower/bathroom facilities for transgender individuals. Each individual’s gender identity and role,

 dignity, and personal safety should be taken into account in housing and other assignments. See

 SOC at 68. If the institution fails to do so, there can be serious consequences for mental and

 physical health. See Seelman, 2016.

        66.     Moreover, transgender women with feminine characteristics are at elevated risk for

 harm when housed in male prisons. Verbal harassment, physical abuse, sexual assault, and sexual

 coercion occur at an alarming rate, and too often there is inadequate protection.

        67.     Clothing and grooming items are particularly important to provide to transgender

 patients with gender dysphoria who have initiated hormone therapy. The physical changes

 facilitated by hormones in these patients make gender-affirming clothing and grooming items

 necessary not only for the mental health of these patients, but also for their basic physical comfort

 and dignity. For example, for transgender women, female undergarments allow testicles to be

 tucked and less visible, reducing symptoms of gender dysphoria. Likewise, regardless of breast

 development, a bra may be an important and affirming symbol of femininity for gender dysphoric

 women.

        68.     Transgender individuals in the correctional environment sometimes are disciplined

 for attempts at grooming that effectively amount to self-treatment of their gender dysphoria. For

 example, transgender women may be disciplined for tattooing makeup, for wearing a ponytail, or

 modifying their clothing to match their gender identity.

        69.     Social role transition—including, for example, transgender women appearing

 feminine—has an enormous impact in the treatment of gender dysphoria. An early seminal study



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 emphasized the importance of aligning presentation and identity and its benefits to mental health.

 Greenberg and Laurence compared the psychiatric status of gender dysphoric individuals who had

 socially transitioned with those who had not. Those who had implemented a social transition

 showed “a notable absence of psychopathology” compared to those who were presenting in their

 birth-assigned sex role. Greenberg & Laurence 1981. In addition, social transition should include

 use of facilities (restrooms, showers, etc.) that are consistent with one’s gender identity. More

 recently, Sevelius (2013) proposed a “gender affirmation model” which demonstrated that access

 to gender affirming components of social role transition equated with better mental health, fewer

 suicide attempts, and lower levels of depression and posttraumatic stress disorder (PTSD)

 symptoms.

         E.      Risks of Providing Inadequate Care

         70.     Without adequate treatment, adults with gender dysphoria experience a range of

 debilitating psychological symptoms such as anxiety, depression, suicidality, and other attendant

 mental health issues. They are frequently socially isolated as they carry a burden of shame and low

 self-esteem, attributable to the feeling of being inherently “defective.” This leads to stigmatization,

 and over time proves ravaging to healthy personality development and interpersonal relationships.

 Without treatment, many gender dysphoric people are unable to adequately function in

 occupational, social, or other areas of life. Many gender dysphoric women without access to

 appropriate care are often so desperate for relief that they resort to life-threatening attempts at auto-

 castration (the removal of one’s testicles) in the hopes of eliminating the major source of

 testosterone that kindles the dysphoria. Brown & McDuffie 2009. A recent survey found a 41%

 rate of suicide attempts among this population, which is far above the baseline rates for North

 America.



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        71.     Gender dysphoria intensifies with age. As cortisol rises with normal aging, the ratio

 of DHEA to cortisol is affected, which acts to alter brain chemistry and intensify gender dysphoria.

 With the passage of time, inmates who require surgical treatment will experience greater distress,

 and no means of relief. See Ettner 2013; Ettner & Wiley 2013. This is particularly deleterious for

 transgender inmates serving long sentences.

        72.     Because gender dysphoria entails clinically significant and persistent feeling of

 stress and discomfort with one’s assigned gender, if it is not treated, those feelings of stress and

 discomfort will increase and may become critical. The results are serious and debilitating

 symptoms of anxiety, depression, and hopelessness. Without treatment, these individuals may not

 be capable of accomplishing simple everyday tasks, and may become increasingly socially

 withdrawn and isolated, which only serves to further exacerbate their symptoms.

        73.     Gender dysphoria left untreated or inadequately treated, will result in serious

 physical harm. The depression and hopelessness associated with the condition causes suicidal

 ideation, which will result in actual suicide for many individuals. See SOC at 67. Research shows

 that the risk of suicide can be significantly diminished with prompt and effective treatment. See,

 e.g., Bauer 2015.

        74.     Moreover, gender dysphoric individuals have a profound discomfort with their

 genitalia. Without effective treatment as outlined above, this often leads to attempts at auto-

 castration, which can result in lasting physical trauma or even death in more serious cases. See

 Brown & McDuffie 2009.

        75.     In sum, the results of providing inadequate treatment are predictable and dire, and

 take one of three paths: profound psychological decompensation, surgical self-treatment, or

 suicide.



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 V.     CONCERNS REGARDING THE ADEQUACY OF PLAINTIFF’S TREATMENT
        FOR GENDER DYSPHORIA BY THE DEFENDANTS

        76.     Based on the small amount of information I have been able to receive about

 Plaintiff’s treatment, I reached some tentative conclusions regarding the adequacy of the treatment

 provided to Plaintiff by Defendants as well as instances where the treatment deviated from the

 accepted standards set forth in the SOC. To do so, I reviewed a handful of Plaintiff’s medical

 records kept by the BOP and spoke for approximately 30 minutes with the Plaintiff by phone. I

 also received her First Amended Complaint and reviewed her Declaration in Support of Plaintiff’s

 Motion for Preliminary Injunction. In order to properly analyze the treatment that Plaintiff is

 receiving, I would need to be able to see a more complete set of her medical and mental health

 records and an opportunity to conduct a longer interview of her. It would also be helpful if I could

 conduct psychological testing of her.

        77.     Plaintiff is a 46-year-old transgender woman currently incarcerated and in the

 custody of the BOP at Federal Correctional Institution Fort Dix (“Fort Dix”), a men’s prison.

 Plaintiff has identified as a female since a very young age. At the age of 12, Plaintiff told her

 mother that she wanted to have gender confirmation surgery in order to live as a female. She acted

 in a very feminine manner and was subjected to emotional and physical abuse by her father.

 Plaintiff withdrew from school in tenth grade and began to socially transition, living her life as a

 woman. She started to wear her hair in a traditionally feminine hairstyle, wear female clothes, and

 use birth control to develop breasts.

        78.     Plaintiff entered BOP custody in 1994. Soon thereafter, in or around 1994, she was

 diagnosed with GID by Dr. Brian Gray, a BOP psychologist who treated her. In 2015, Dr. Lewis,

 BOP’s Chief Psychologist, changed Ms. Iglesias’s diagnosis from GID to gender dysphoria to

 reflect the updated diagnosis in the DSM-5, published in 2013. Medical records for Ms. Iglesias

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 indicate that in 2009, she attempted auto-penectomy. Attempts to remove the genitals are not

 uncommon in prison settings, but only occur when the gender dysphoria is inadequately or

 inappropriately treated. See Brown, 2010. Auto-castration and auto-penectomy are not considered

 genital mutilation or evidence of psychosis. Rather, they are referred to as surgical-self-treatment

 (“SST”). These life-threatening behaviors occur when severe gender dysphoria is undertreated.

 For Ms. Iglesias, the anatomical dysphoria regarding her genitalia is severe. She describes her

 genitals as a “tumor or cancer that needs to be removed,” feels “dirty and disgusted” when viewing

 or touching her genitals, and relates that it is hard to control the impulse to auto-penectomize.

        79.     On March 23, 2021, I spoke with Plaintiff by phone for approximately one-half

 hour. Ms. Iglesias related that her gender dysphoria was intensifying, which is typical at middle

 age, and tearfully described the extreme distress she is now experiencing. She related “feeling as

 though her existence is torture.” She has been traumatized by the numerous attacks she has endured

 and the indifference to her safety. She is permitted to shave only once a week, which leaves her

 feeling like a “bearded lady,” i.e., a freak of nature. She described experiencing symptomatology

 consistent with posttraumatic stress disorder: sadness, fear, hopelessness, nightmares, panic

 attacks, and disordered eating.

        80.     I have serious concerns about Plaintiff’s treatment for gender dysphoria. It appears

 to fall far outside of what is recommended by the SOC in that BOP personnel have been aware of

 Plaintiff’s gender dysphoria diagnosis since 1994 but delayed providing her with hormone therapy

 for more than twenty years until 2015. And for five years, it appears that they have ignored her

 serious medical needs for surgery and transfer to a female facility. She has also been denied

 permanent hair removal for several years.




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        81.     In addition, Plaintiff has been housed in male prisons for many years despite the

 fact that she has identified and lived only as a woman for many years, even prior to her

 incarceration. A note in her medical records on December 18, 2019 states that she has developed

 female physical characteristics: “breast development, body fat changes, more feminine, skin is

 better” as a result of hormone therapy. After years of endocrine treatment, Ms. Iglesias has been

 hormonally confirmed. In other words, she has the female secondary sex characteristics and

 circulating sex steroids corresponding to adult females. She has been subjected to extensive sexual

 abuse, physical abuse, and harassment and misgendering by BOP staff and male prisoners during

 her time in BOP custody in male facilities.

        82.      Public spaces and facilities—such as restrooms, locker rooms, and correctional

 facilities—are designed to segregate men and women. Prison settings where transgender people

 are confined and lack agency can be particularly devastating and even deadly.

        83.     While it is impossible for me to reach any definitive conclusions based on the small

 amount of information I have received, I have grave concerns regarding Ms. Iglesias. She reports

 being extorted for money and forced to engage in coercive sexual acts. She is experiencing

 psychological symptoms consistent with complex posttraumatic stress disorder (PTSD), which is

 chronic and intractable. Her feelings of hopelessness are clinically concerning, given that

 hopelessness is a reliable predictor of suicide, more so even than depression. Her status as a

 transgender woman is being weaponized against her. Other prisoners torment and victimize her,

 and prison officials are indifferent to her medical needs and safety.

 VI.    CONCLUSION

        84.     It is my experience that when transgender women are placed in a facility with men

 and subjected to abuse, they inevitably develop complex trauma, a form of PTSD. Complex trauma



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 is a result of traumatic stressors that are interpersonal, i.e., intentionally caused and planned by

 humans. Interpersonal trauma results in more severe harm than random or impersonal trauma., i.e.,

 “acts of God.” Additionally, interpersonal victimization is typically repeated and chronic. Whether

 it occurs routinely or intermittently, the victim does not have adequate time to regain emotional

 equilibrium between “assaults” and the fear that another attack can occur at any time leads to states

 of hypervigilance and hyperarousal. Thus, the trauma of PTSD has biological and psychological

 sequelae.

         85.        It is my opinion that Ms. Iglesias requires transfer to a female facility where she

 will be free from violent sexual assault and able to live consistent with her affirmed gender. Having

 evaluated several other transgender women to determine their eligibility for transfer to female

 facilities, I am not aware of any reason Ms. Iglesias could not be safely placed in a female

 correctional facility. The SOC confirm that placement of individuals should be made on a case-

 by-case basis—rather than on the basis of sex assigned at birth or a person’s surgical history—

 with an eye towards safety and to minimize the risk of attacks. SOC Section XIV. It is my

 understanding that, consistent with this guidance, the BOP and state corrections departments have

 begun housing transgender women in female facilities, on a case-by-case basis, in consideration

 of their safety.

         86.        It is also my opinion that Ms. Iglesias should be provided gender confirmation

 surgery. She successfully consolidated her female identity long ago. She has relentlessly advocated

 for medical and surgical care. Despite years of feminizing hormone therapy, she continues to suffer

 from gender dysphoria. The long-term hormonal treatment she has undergone has served to

 intensify her anatomical dysphoria. Having a female appearance and male genitalia generates




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 profound distress. Her inability to reduce or modulate this internal anguish is likely to result in

 emotional decompensation and/or self-harm.

           87.   Ms. Iglesias has met and exceeded the five enumerated criteria for gender

 confirmation surgery as stated in the WPATH SOC: (1) she has persistent, well-documented

 gender dysphoria; (2) she is free of any disorders of thought and able to provide informed consent;

 (3) she is over the age of majority; (4) she has no medical or mental health issues that contraindicate

 surgery. On the contrary, surgery is the therapeutic intervention that would significantly improve

 her emotional and physical health; (5) she has lived in her affirmed and well-consolidated female

 gender.

           88.   I have read Defendant Connor’s statement that “gender-affirming surgery is

 considered after real life experience in your preferred gender.” However, this is not accurate. The

 “real life experience” criterion was abandoned twelve years ago. The SOC do not require patients

 to have “real life experiences,” only to live in the congruent gender role for twelve months. Ms.

 Iglesias has done so for decades. The SOC do not focus on the location where the patient lived in

 the role but on the patient’s experience of living in the role, regardless of the patient’s

 surroundings.

           89.   It is my opinion that owing to the severity of her gender dysphoria, the ensuing

 clinically significant distress, and the limited efficacy of hormone therapy, gender confirmation

 surgery is medically necessary for Ms. Iglesias.



 Pursuant to 28 U.S.C.§ 1746, I declare that the foregoing is true and correct.




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                          APPENDIX A




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POSITIONS HELD

Clinical Psychologist
Forensic Psychologist
Fellow and Diplomate in Clinical Evaluation, American Board of
     Psychological Specialties
Fellow and Diplomate in Trauma/PTSD
President, New Health Foundation Worldwide
Secretary, World Professional Association for Transgender Health
     (WPATH)
Chair, Committee for Institutionalized Persons, WPATH
Global Education Initiative Committee, WPATH
University of Minnesota Medical Foundation: Leadership Council
Psychologist, Center for Gender Confirmation Surgery, Weiss Memorial
     Hospital
Adjunct Faculty, Prescott College
Editorial Board, International Journal of Transgender Health
Editorial Board, Transgender Health
Television and radio guest (more than 100 national and international
     appearances)
Internationally syndicated columnist
Private practitioner
Medical staff; Department of Medicine: Weiss Memorial Hospital,
     Chicago, IL
Advisory Council, National Center for Gender Spectrum Health


EDUCATION

 PhD, 1979          Northwestern University (with honors) Evanston, Illinois

 MA, 1976           Roosevelt University (with honors) Chicago, Illinois

 BA, 1969-73        Indiana University
                    Bloomington, Indiana
                    Cum Laude
                    Major: Clinical Psychology; Minor: Sociology

  1972              Moray College of Education
                    Edinburgh, Scotland
                    International Education Program

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   1970                 Harvard University
                        Cambridge, Massachusetts Social Relations Undergraduate
                        Summer Study Program in Group Dynamics and Processes



CLINICAL AND PROFESSIONAL EXPERIENCE

 2016-present   Psychologist: Weiss Memorial Hospital Center for Gender Confirmation
                Surgery

                Consultant: Walgreens; Tawani Enterprises
                Private practitioner

 2011           Instructor, Prescott College: Gender-A multidimensional approach

 2000           Instructor, Illinois Professional School of Psychology

 1995-present   Supervision of clinicians in counseling gender non conforming clients

 1993           Post-doctoral continuing education with Dr. James Butcher in MMPI-2
                Interpretation, University of Minnesota

 1992           Continuing advanced tutorial with Dr. Leah Schaefer in psychotherapy

 1983-1984      Staff psychologist, Women’s Health Center, St. Francis Hospital, Evanston,
                Illinois

 1981-1984      Instructor, Roosevelt University, Department of Psychology: Psychology of
                Women, Tests and Measurements, Clinical Psychology, Personal Growth,
                Personality Theories, Abnormal Psychology

 1976-1978      Research Associate, Cook County Hospital, Chicago, Illinois, Department of
                Psychiatry

 1975-1977      Clinical Internship, Cook County Hospital, Chicago, Illinois, Department of
                Psychiatry

 1971           Research Associate, Department of Psychology, Indiana University

 1970-1972      Teaching Assistant in Experimental and Introductory Psychology
                Department of Psychology, Indiana University

 1969-1971      Experimental Psychology Laboratory Assistant, Department of Psychology,
                Indiana University



   INVITED PRESENTATIONS AND HOSPITAL GRAND ROUNDS
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 Care of the Older Transgender Patient, Weiss Memorial Hospital, Chicago, IL, 2021

 Working with Medical Experts, The National LGBT Law Association, webinar presentation,
 2020
 Legal Issues Facing the Transgender Community, Illinois State Bar Association, Chicago, IL,
 2020

 Providing Gender Affirming Care to Transgender Patients, American Medical Student
 Association, webinar presentation, 2020

 Foundations in Mental Health for Working with Transgender Clients; Advanced Mental Health
 Issues, Ethical Issues in the Delivery of Care, Center for Supporting Community Development
 Initiatives, Vietduc University Hospital, Hanoi, Vietnam, 2020

 The Transgender Surgical Patient, American Society of Plastic Surgeons, Miami, FL 2019

 Mental health issues in transgender health care, American Medical Student Association,
 webinar presentation, 2019

 Sticks and stones: Childhood bullying experiences in lesbian women and transmen, Buenos
 Aires, 2018

 Gender identity and the Standards of Care, American College of Surgeons, Boston, MA, 2018

 The mental health professional in the multi-disciplinary team, pre-operative evaluation and
 assessment for gender confirmation surgery, American Society of Plastic Surgeons, Chicago, IL,
 2018; Buenos Aires, 2018

 Navigating Transference and Countertransference Issues, WPATH global education initiative,
 Portland, OR; 2018

 Psychological aspects of gender confirmation surgery International Continence Society,
 Philadelphia, PA 2018

 The role of the mental health professional in gender confirmation surgeries, Mt. Sinai Hospital,
 New York City, NY, 2018

 Mental health evaluation for gender confirmation surgery, Gender Confirmation Surgical Team,
 Weiss Memorial Hospital, Chicago, IL 2018

 Transitioning; Bathrooms are only the beginning, American College of Legal Medicine,
 Charleston, SC, 2018

 Gender Dysphoria: A medical perspective, Department of Health and Human Services, Office
 for Civil Rights, Washington, D.C, 2017
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 Multi-disciplinary health care for transgender patients, James A. Lovell Federal Health Care
 Center, North Chicago, IL, 2017

 Psychological and Social Issues in the Aging Transgender Person, Weiss Memorial Hospital,
 Chicago, IL, 2017.

 Psychiatric and Legal Issues for Transgender Inmates, USPATH, Los Angeles, CA, 2017

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 Healthcare for transgender inmates in the US, Erasmus Medical Center, Rotterdam,
 Netherlands, 2016.

 Tomboys Revisited: Replication and Implication; Models of Care; Orange Isn’t the New Black
 Yet- WPATH symposium, Amsterdam, Netherlands, 2016.

 Foundations in mental health; role of the mental health professional in legal and policy issues,
 healthcare for transgender inmates; children of transgender parents; transfeminine genital
 surgery assessment: WPATH global education initiative, Chicago, IL, 2015; Atlanta, GA, 2016;
 Columbia, MO, 2016; Ft. Lauderdale, FL, 2016; Washington, D.C., 2016, Los Angeles, CA,
 2017, Minneapolis, MN, 2017, Chicago, IL, 2017; Columbus, Ohio, 2017; Portland, OR, 2018;
 Cincinnati, OH, 2018, Buenos Aires, 2018

 Pre-operative evaluation in gender-affirming surgery-American Society of Plastic Surgeons,
 Boston, MA, 2015

 Gender affirming psychotherapy; Assessment and referrals for surgery-Standards of Care-
 Fenway Health Clinic, Boston, 2015

 Gender reassignment surgery- Midwestern Association of Plastic Surgeons, 2015

 Adult development and quality of life in transgender healthcare- Eunice Kennedy Shriver
 National Institute of Child Health and Human Development, 2015

 Healthcare for transgender inmates- American Academy of Psychiatry and the Law, 2014

 Supporting transgender students: best school practices for success- American Civil Liberties
 Union of Illinois and Illinois Safe School Alliance, 2014

 Addressing the needs of transgender students on campus- Prescott College, 2014

 The role of the behavioral psychologist in transgender healthcare – Gay and Lesbian Medical
 Association, 2013

 Understanding transgender- Nielsen Corporation, Chicago, Illinois, 2013
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 Role of the forensic psychologist in transgender care; Care of the aging transgender patient-
 University of California San Francisco, Center for Excellence, 2013

 Evidence-based care of transgender patients- North Shore University Health Systems,
 University of Chicago, Illinois, 2011; Roosevelt-St. Vincent Hospital, New York; Columbia
 Presbyterian Hospital, Columbia University, New York, 2011

 Children of Transsexuals-International Association of Sex Researchers, Ottawa, Canada, 2005;
 Chicago School of Professional Psychology, 2005

 Gender and the Law- DePaul University College of Law, Chicago, Illinois, 2003; American Bar
 Association annual meeting, New York, 2000

 Gender Identity, Gender Dysphoria and Clinical Issues –WPATH Symposium, Bangkok,
 Thailand, 2014; Argosy College, Chicago, Illinois, 2010; Cultural Impact Conference, Chicago,
 Illinois, 2005; Weiss Hospital, Department of Surgery, Chicago, Illinois, 2005; Resurrection
 Hospital Ethics Committee, Evanston, Illinois, 2005; Wisconsin Public Schools, Sheboygan,
 Wisconsin, 2004, 2006, 2009; Rush North Shore Hospital, Skokie, Illinois, 2004; Nine Circles
 Community Health Centre, University of Winnipeg, Winnipeg, Canada, 2003; James H. Quillen
 VA Medical Center, East Tennessee State University, Johnson City, Tennessee, 2002; Sixth
 European Federation of Sexology, Cyprus, 2002; Fifteenth World Congress of Sexology, Paris,
 France, 2001; Illinois School of Professional Psychology, Chicago, Illinois 2001; Lesbian
 Community Cancer Project, Chicago, Illinois 2000; Emory University Student Residence Hall,
 Atlanta, Georgia, 1999; Parents, Families and Friends of Lesbians and Gays National
 Convention, Chicago, Illinois, 1998; In the Family Psychotherapy Network National Convention,
 San Francisco, California, 1998; Evanston City Council, Evanston, Illinois 1997; Howard Brown
 Community Center, Chicago, Illinois, 1995; YWCA Women’s Shelter, Evanston, Illinois, 1995;
 Center for Addictive Problems, Chicago, 1994

 Psychosocial Assessment of Risk and Intervention Strategies in Prenatal Patients- St. Francis
 Hospital, Center for Women’s Health, Evanston, Illinois, 1984; Purdue University School of
 Nursing, West Layette, Indiana, 1980

 Psychonueroimmunology and Cancer Treatment- St. Francis Hospital, Evanston, Illinois, 1984

 Psychosexual Factors in Women’s Health- St. Francis Hospital, Center for Women’s Health,
 Evanston, Illinois, 1984

 Sexual Dysfunction in Medical Practice- St. Francis Hospital, Dept. of OB/GYN, Evanston,
 Illinois, 1980

 Sleep Apnea - St. Francis Hospital, Evanston, Illinois, 1996; Lincolnwood Public Library,
 Lincolnwood, Illinois, 1996

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 Chicago, Illinois, 1977
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 “Compensation for Mental Injury," Chicago Daily Law Bulletin, 1994.

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 “The Work of Worrying: Emotional Preparation for Labor,” Pregnancy as Healing. A Holistic
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 PROFESSIONAL AFFILIATIONS
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 University of Minnesota Medical School–Leadership Council
 American College of Forensic Psychologists
 World Professional Association for Transgender Health
 World Health Organization (WHO) Global Access Practice Network
 TransNet national network for transgender research
 American Psychological Association
 American College of Forensic Examiners
 Society for the Scientific Study of Sexuality
 Screenwriters and Actors Guild
 Phi Beta Kappa


 AWARDS AND HONORS
 University of Minnesota, Program of Human Sexuality Distinguished Sex and Gender
 Revolutionary award, 2021
 Letter of commendation from United States Congress for contributions to public health in
 Illinois, 2019
 WPATH Distinguished Education and Advocacy Award, 2018
 The Randi and Fred Ettner Transgender Health Fellowship-Program in Human Sexuality,
 University of Minnesota, 2016
 Phi Beta Kappa, 1972
 Indiana University Women’s Honor Society, 1970-1972
 Indiana University Honors Program, 1970-1972
 Merit Scholarship Recipient, 1970-1972
 Indiana University Department of Psychology Outstanding Undergraduate Award
       Recipient, 1970-1972
 Representative, Student Governing Commission, Indiana University, 1970


 LICENSE

 Clinical Psychologist, State of Illinois, 1980
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                        APPENDIX B
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                          APPENDIX C
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                                           March 17, 2021

 Dr. Randi Ettner
 1214 Lake Street
 Evanston, IL 60201
 rettner@aol.com

 Dear Dr. Ettner:

         As you know, the American Civil Liberties Union Foundation (“ACLUF”), the Roger
 Baldwin Foundation of ACLU, Inc. (“RBF”), Feirich Mager Green Ryan (“FMGR”) and
 Winston & Strawn LLP (“W&S”) represent the plaintiff Cristina Iglesias in Iglesias v. Connors
 in connection with the adequacy of her medical care and protection from harm provided by the
 Federal Bureau of Prisons. Acting on behalf of the plaintiff, we have discussed with you the
 possibility of your serving in this matter as a testifying expert. Thank you for agreeing to serve as
 an expert witness in this case. The terms of your retention are set forth below. Please signify
 your agreement to these terms by countersigning this letter and returning it to me.

         This letter confirms that the ACLUF, RBF, FMGR and W&S have retained you as an
 expert in this case and we have agreed to pay your pro bono rate of $375 per hour, up to a
 maximum of $3000 per day. The same rate applies to report writing, phone conferences, face-to-
 face meetings and travel time. You will charge us the rate of $425 per hour for trial and
 deposition testimony. In addition to professional fees, we will compensate you for reasonable
 direct out-of-pocket expenses, such as charges for travel. You will inform us if you anticipate
 that your total fees will exceed $10,000 prior to incurring those costs in excess of that amount,
 and inform us of the same for every additional $10,000 thereafter prior to incurring those costs in
 excess of that amount.

         You should send your bills directly to my attention at the Roger Baldwin Foundation of
 ACLU, Inc., and bills should be issued no less frequently than every other month. You have
 advised us that no conflicts exist with your taking on this assignment. You agree that you will
 not provide expert witness services in this case or matters directly connected with this case for
 any person or entity, other than the plaintiffs and their attorneys, without the advance written
 approval of the plaintiffs’ attorneys. In addition, you agree that while this matter is still active
 you will not provide expert services for any person or entity who has asserted or proposes to
 assert any position antagonistic to that of the plaintiffs in this case, without the advance written
 approval of the plaintiffs’ attorneys.

         In the course of your retention, we may call upon you to provide information, prepare
 studies or reports, participate in meetings, review materials, and undertake other tasks for
 ACLUF, RBF, FMGR and W&S as counsel to Ms. Iglesias. We intend that your work, opinions,



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                                             James D. Esseks

                           18        March
